Case 1:20-cv-04178-LDH-LB Document 31 Filed 07/14/21 Page 1 of 1 PageID #: 132




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------          ------------------X

HITLER CALLE, individually and on behalf
of others similarly situated,                             1:20-cv-04178-LDH-LB

                                                          CERTIFICATE OF SERVICE
                              Plaintiff,
               -against-


PIZZA PALACE CAFE LLC (D/B/A PIZZA
PALACE CAFE), SASHA ISHAQOV, YURI
ISHAQOV, and VLADY DJOURAEV




                              Defendants.
---------------------------------------X
     Fidel Lozano certifies as follows:

       I am a natural person above the age of eighteen years and am not a party in the above­

captioned action. On this fourteenth day of July, 2021, I served copies of the civil docket and

copies of Magistrate Judge Lois Bloom's Order dated 7/13/2021, via First Class Mail, Return

Receipt Requested to:

Pizza Palace Cafe LLC
63-60 108th St
Queens, NY 11375

Pizza Palace Cafe
c/o Sasha Ishaqov
63-60 108th St
Queens, NY 11375

Pizza Palace Cafe
c/o Yuri Ishaqov
63-60 108th St                             FIDEL LOZANO
Queens, NY 11375

Pizza Palace Cafe
c/o Vlady Djouraev
63-60 108th St
Queens, NY 11375
